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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,     )
                              )
              Plaintiff,      )     ORDER OF DETENTION PENDING HEARINGS
                              )
       vs.                    )
                              )
Carl Kenneth Kabat,           )
Gregory Irwin Obed,           )
Michael Robin Walli,          )     Case No. 4:06-mj-021
                              )
              Defendants.     )
______________________________________________________________________________

       Upon the Motion of the United States for detention of Defendant Michael Robin Walli, and

for a detention hearing, it is hereby ORDERED that a detention hearing for Defendant Walli be

scheduled for Wednesday, July 5, 2006, at 2:00 p.m. at the Federal Building and U.S. Courthouse

in Bismarck, North Dakota.

       It is FURTHER ORDERED that pending said hearing, Defendant Walli shall be committed

to the custody of the Attorney General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from persons awaiting or serving sentences

or being held in custody pending appeal.         Defendant Walli shall be afforded a reasonable

opportunity for private consultations with defense counsel. On order of a court of the United States

or on request of an attorney for the Government, the person in charge of the corrections facility shall

deliver Defendant Walli to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.

       Dated this 29th day of June, 2006.

                                               /s/ Charles S. Miller, Jr.
                                               Charles S. Miller, Jr.
                                               United States Magistrate Judge
